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 4
 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE
 7
   UNITED STATES OF AMERICA, )
 8                               )
                Plaintiff,       )                CASE NO.      CR06-149 RSM
 9                               )
           v.                    )
10                               )                BOND REVOCATION AND
   RHONDA L. SCHWEITZER,         )                DETENTION ORDER
11                               )
                Defendant.       )
12                               )
   _____________________________ )
13
14
              The Court conducted a Bond Revocation hearing on October 26, 2006. The bond
15
     was revoked and defendant ordered detained. Defendant is alleged to have violated the
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     conditions of her release in the following respects:
17
     (1)      Violation of a special condition of bond that she not use, consume or possess
18
              alcohol by consuming alcohol during the week of October 1, 2006 to October 7,
19
              2006.
20
     (2)      Violation of a special condition of bond that she not use, consume or posses any
21
              controlled substances by using Cocaine on October 14,15, 16, and 17, 2006.
22
     (3)      Violation of a special condition that she submit to drug testing as directed, by
23
              failing to submit to a scheduled urinalysis on October 16, 2006.
24
     (4)      Violation of a special condition that she participate in substance abuse counseling
25
              as directed by failing to attend her scheduled treatment session on October 17, and
26


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 1           19, 2006.
 2 The defendant stipulated to violations 1-3. Court finds that grounds are established as to
 3 violations 4-5.
 4           It is therefore ORDERED:
 5           (1)     Defendant shall be detained pending trial and committed to the custody of
 6                   the Attorney General for confinement in a correctional facility separate, to
 7                   the extent practicable, from persons awaiting or serving sentences, or being
 8                   held in custody pending appeal;
 9           (2)     Defendant shall be afforded reasonable opportunity for private consultation
10                   with counsel;
11           (3)     On order of a court of the United States or on request of an attorney for the
12                   Government, the person in charge of the correctional facility in which
13                   Defendant is confined shall deliver the defendant to a United States Marshal
14                   for the purpose of an appearance in connection with a court proceeding; and
15           (4)     The clerk shall direct copies of this order to counsel for the United States,
16                   to counsel for the defendant, to the United States Marshal, and to the United
17                   States Pretrial Services Officer.
18           DATED this 27th day of October, 2006.
19



                                                         A
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21
                                                         MONICA J. BENTON
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                                                         United States Magistrate Judge
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